                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA                     )
                                              )
              Plaintiff,                      )
 v.                                           )   CASE NO. 3:05-CR-148-02
                                              )
 DENNIS RICHARDSON                            )
                                              )
              Defendant.                      )


                              MEMORANDUM AND ORDER

       This matter is before the court on the defendant’s motion for sentence reduction

 pursuant to Amendment 782 and 788 to the United States Sentencing Guidelines [R.

 604]. The government has responded deferring to the court’s discretion whether and to

 what extent to reduce defendant’s sentence [R. 606].        The defendant is presently

 scheduled for release on August 4, 2020.

       The defendant was convicted of conspiring to distribute and possession with intent

 to distribute at least five kilograms of cocaine, in violation of 21 U.S.C. §§ 846 and

 841(a)(1), (b)(1)(A).     At sentencing, defendant’s base offense level was 38, with a

 criminal history category VI, resulting in an advisory guideline range of 292 - 365

 months, which was restricted by an enhanced mandatory minimum of life imprisonment.

 However, the United States filed a motion for downward departure pursuant to 18 U.S.C.

 § 3553(e) in light of defendant’s substantial assistance. Defendant was thus sentenced to

 198 months followed by 10 years of supervised release on March 25, 2008.




Case 3:05-cr-00148-RLJ-HBG         Document 607 Filed 07/05/16      Page 1 of 2    PageID
                                         #: 4363
       Amendment 782 reduces the guideline range applicable to defendant. Pursuant to

 Amendment 782, defendant’s base offense level is 36, with a criminal history category

 VI, resulting in an amended guideline range of 262 - 327 months. Giving defendant a

 comparable adjustment, and taking into account the policy statements set forth at USSG §

 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), it is hereby

 ORDERED that the defendant’s motion [R. 604] is GRANTED, and the defendant’s

 sentence is reduced to 176 months.

       If this sentence is less than the amount of time the defendant has already served,

 the sentence is reduced to a “time served” sentence. See USSG § 1B1.10(b)(2)(C).

       Except as provided above, all provisions of the judgment dated March 25, 2008

 shall remain in effect. The effective date of this order is June 28, 2016. See USSG §

 1B1.10(e)(1).

       IT IS SO ORDERED.



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                                         UNITED
                                         UNITED STATES
                                                 STAATESS DISTRICT
                                                          DIS   CT JUDGE
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Case 3:05-cr-00148-RLJ-HBG       Document 607 Filed 07/05/16        Page 2 of 2     PageID
                                       #: 4364
